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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

WENDI KRAEMER and                         )
ANGELS JOURNEY                            )          CIVIL ACTION NO.            22-1232
HOME RESCUE,                              )
a non-profit corporation,                 )
                                          )
                 Plaintiffs,              )
                                          )
         v.                               )
                                          )
ROSTRAVER TOWNSHIP, a municipal )
corporation, GARY N. BECK, SR.,           )
in his official and individual capacity,  )
FRANK MONACK, in his individual           )
and official capacity, NICK LNU,          )
in his individual capacity, ALL BUT       )
FURGOTTEN, INC, a non-profit              )
corporation, ANDREA PALMER, in her        )
 individual capacity, LIBBY WILLIAMS, )
in her individual capacity, ERIN CASSIDY, )
in her individual capacity, RENEE         )
BARNES, in her individual capacity, and )
TRISH COLE, in her individual capacity, )            JURY TRIAL DEMANDED
                                          )
                 Defendants.              )          Electronically Filed.

                              COMPLAINT IN A CIVIL ACTION

       COMES NOW, the Plaintiffs, WENDI KRAEMER and ANGELS JOURNEY HOME

RESCUE, by and through their attorneys, LAW OFFICES OF JOEL SANSONE, JOEL S.

SANSONE, ESQUIRE, MASSIMO A. TERZIGNI, ESQUIRE, and ELIZABETH A. TUTTLE,

ESQUIRE, and hereby files this Complaint in a Civil Action as follows:

                                 JURISDICTION AND VENUE

1.     This is an action for the redress of grievances and in vindication of civil rights guaranteed

to the Plaintiffs under the Constitution of the United States and the laws enacted in furtherance

thereof, including 42 U.S.C. § 1983.
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2.       This action is brought against the Defendants for violating Plaintiffs’ rights under the

First and Fourteenth Amendments of the United States Constitution and 42 U.S.C. § 1983.

3.       Jurisdiction is founded on 28 U.S.C. § 1331 and § 1343(3). Supplemental jurisdiction

over Plaintiffs’ state law claims is also proper pursuant to 28 U.S.C.A. § 1367.

4.       Venue is proper under 28 U.S.C.A. § 1391(b). All claims set forth herein arose in the

Western District of Pennsylvania.

                                              PARTIES

5.       Plaintiff, Wendi Kraemer (“Kraemer”), is an adult individual who resides in

Westmoreland County, Pennsylvania. Plaintiff Kraemer is the owner and Chief Executive

Officer (“CEO”) of Plaintiff Angels Journey Home Rescue.

6.       Plaintiff, Angels Journey Home Rescue (“Rescue”), is a Pennsylvania non-profit

corporation with a registered address of 4531 State Route 51 North, Belle Vernon, Pennsylvania

15012.

7.       Defendant, Rostraver Township (“Township”), is a Pennsylvania municipal corporation

with administrative offices located at 201 Municipal Drive, Rostraver Township, Pennsylvania

15012. At all times relevant to this complaint, Defendant Township acted by and through its

officials acting or purporting to act within the full scope and authority of their office.

8.       Defendant, Gary N. Beck, Sr. (“Beck”), is an adult individual and resident of

Westmoreland County, Pennsylvania. At all times relevant to this Complaint, Defendant Beck

was a duly elected commissioner of Defendant Township, employed by Defendant Township,

purporting to act within the full scope and authority of his office. In his capacity as

commissioner, Defendant Beck purported to act as a decision-maker for Defendant Township.




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9.     Defendant, Frank Monack (“Monack”), is an adult individual and resident of

Westmoreland County, Pennsylvania. At all times relevant to this Complaint, Defendant

Monack was the zoning officer for Defendant Township, employed by Defendant Township and

purporting to act within the full scope and authority of his office.

10.    Defendant, Nick LNU (“Nick LNU”), is an adult male individual and resident of

Westmoreland County, Pennsylvania.

11.    Defendant, Andrea Palmer (“Palmer”), is an adult female individual and resident of

Westmoreland County, Pennsylvania. At all times relevant to this Complaint, Defendant Palmer

was employed by Defendant All But Furgotten, Inc., as a humane officer.

12.    Defendant, All But Furgotten, Inc. (“Furgotten”), is a Pennsylvania non-profit

corporation with a registered address of 70 Carpenter Lane, Irwin, Pennsylvania 15642. At all

times relevant hereto, Defendant Furgotten was acting through its agents, subsidiaries, officers,

employees and assigns acting within the full scope of their agency, office, employment or

assignment including, but not limited to, Defendant Palmer.

13.    Defendant, Libby Williams (“Williams”), is an adult female individual and resident of

New Jersey.

14.    Defendant, Renee Barnes (“Barnes”), is an adult female individual and resident of

Westmoreland County, Pennsylvania.

15.    Defendant, Erin Cassidy (“Cassidy”), is an adult female individual and resident of

Westmoreland County, Pennsylvania.

16.    Defendant, Trish Cole (“Cole”), is an adult female individual and resident of

Westmoreland County, Pennsylvania.




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                                  FACTUAL ALLEGATIONS

17.    Defendant Beck is a duly elected commissioner for Defendant Township.

18.    In or about 2015, Plaintiff Kraemer purchased the property at 4531 State Route 51, North

Belle Vernon, Pennsylvania 15012 as a primary residence and a location for Plaintiff Rescue.

19.    Various members of the community have informed Plaintiff Kraemer that Defendant

Beck wanted to purchase the Plaintiffs’ property before Plaintiff Kraemer’s offer on the property

was accepted in 2015.

20.    Plaintiff Rescue works with veterans, including African-American veterans, and provides

them with service and therapy dogs.

21.    For several years, Defendant Beck has made various baseless complaints about Plaintiff

Kraemer to the local and state police.

22.    By way of example, Defendant Beck regularly makes complaints to local police and to

Defendant Township’s zoning officer, Defendant Monack, that Plaintiff Kraemer burns boxes

and various other items on her property.

23.    Notably, Defendant Township has no burn ordinances and many other members of the

community, including Defendant Beck, also regularly burn various items on their properties.

24.    Plaintiff Kraemer has never been cited for burning on her property. Plaintiff Kraemer’s

burning is not excessive in any way.

25.    Plaintiff Kraemer has also made various complaints about Defendant Beck to the local

and state police.

26.    Plaintiff Kraemer has witnessed various animal abuse offenses committed by Defendant

Beck and has reported those offenses to the local police, state police, American Society for the




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Prevention of Cruelty to Animals, People for the Ethical Treatment of Animals and other

agencies.

27.    By way of example, in or about December of 2021, Plaintiff reported to the state police

that Defendant Beck’s dogs were housed in an uninsulated structure, outside, in freezing

temperatures. At that time, Plaintiff Kraemer also heard sounds of distress from the dogs.

28.    On several occasions throughout the years, Defendant Township’s garbage collection

service refused to collect Plaintiffs’ trash from their property.

29.    By way of example, from in or about April of 2021 to in or about November of 2021,

Plaintiffs’ trash was not removed by Defendant Township’s garbage collection service.

30.    Defendant Township never provided a valid reason for not removing the Plaintiffs’ trash

from her property.

31.    Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as a

commissioner for Defendant Township, instructed Defendant Township’s garbage collection

service not to remove the Plaintiffs’ trash.

32.    Plaintiffs believe, and therefore aver, that Defendant Township and/or Defendant Beck

did not instruct garbage collection service to not collect similarly situated property owners’

and/or organizations’ trash. No rational basis exists for this difference in treatment.

33.    Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as a

commissioner for Defendant Township, instructed Defendant Township’s garbage collection

service not to remove the Plaintiffs’ trash in retaliation for Plaintiff Kraemer’s complaints about

Defendant Beck.

34.    Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as a

commissioner for Defendant Township, instructed Defendant Township’s garbage collection



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service not to remove the Plaintiffs’ trash in retaliation for Plaintiff Rescue’s association with

Plaintiff Kraemer.

35.    Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as a

commissioner for Defendant Township, instructed Defendant Township’s garbage collection

service not to remove the Plaintiffs’ trash because Plaintiff Rescue works with African-American

veterans and, as a result, African-American individuals visit the Plaintiffs’ property.

36.    On or about July 25, 2021, Plaintiff Rescue had a yard sale on its property to raise

money. At that time, veterans, including African-American veterans, were on the Plaintiffs’

property for the yard sale and/or as volunteers.

37.    At that time, Defendant Beck stated, in reference to Plaintiff Kraemer and the African-

American veterans, “that bitch better learn her place and get these fucking niggers out of here.”

38.    At or around that time, various members of the community informed Plaintiff Kraemer

that Defendant Beck was circulating a petition to remove the Plaintiffs from the community.

39.    At that time, Defendant Beck made statements to various members of the community that

Plaintiff Kraemer sold drugs and “ran a prostitution ring” at the Plaintiffs’ property.

40.    The statements made by Defendant Beck, as more fully described hereinbefore above,

were false, defamatory to Plaintiff Kraemer’s character and placed Plaintiff Kraemer in a false

light to members of her community.

41.    The statements made by Defendant Beck also impute criminal liability to Plaintiff

Kraemer.

42.    On January 14, 2022, at or around 3:45 a.m., the front porch of the Plaintiffs’ property

caught fire. The fire severely damaged the property and several animals perished.




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43.    Shortly after the fire was extinguished, Plaintiff Kraemer witnessed Defendant Nick LNU

trespassing in her residence and dumping trash inside the house.

44.    Plaintiffs did not permit Defendant Nick LNU to be on their property at that time.

45.    After the fire, Defendant Monack entered the Plaintiffs’ property and Plaintiff Kraemer’s

residence with Defendant Township’s chief of police and other officers.

46.    Plaintiff Kraemer told Defendant Monack that she did not permit Defendant Monack to

enter the property and/or her residence at that time.

47.    Defendant Monack, however, entered the Plaintiffs’ property and Plaintiff Kraemer’s

residence without the Plaintiffs’ permission. No circumstances existed to warrant Defendant

Monack’s unlawful entry onto the property and/or home at that time.

48.    Plaintiff Rescue’s volunteers also informed Plaintiff Kraemer that Defendant Beck was

located on the Plaintiffs’ property and taking pictures after the fire.

49.    Plaintiffs did not permit Defendant Beck to be on the property at that time.

50.    Due to the fire, Plaintiff Rescue’s animals needed temporary homes. Several volunteers

housed those animals.

51.    Thereafter, Defendant Palmer contacted several of those individuals, in her capacity as a

humane officer for Defendant Forgotten, via text message and instructed those individuals not to

return the Plaintiffs’ animals.

52.    Defendant Palmer told several individuals that she wanted to “build a case” against

Plaintiffs for not properly “vetting” their animals. However, Plaintiffs properly vet their animals.

53.    At that time, Defendant Palmer said that Plaintiff Kraemer was a “hoarder.

54.    Those statements were, and are, false, defamatory to Plaintiff Kramer’s character and

character and placed Plaintiff Kraemer in a false light to members of her community.



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55.     Defendant Palmer made the above-described statements in her capacity as a humane

officer for Defendant Forgotten.

56.     Sometime thereafter, Plaintiff Kraemer overheard Defendant Barnes make statements to

an employee at Dollar General that Plaintiff Kraemer was a “hoarder.”

57.     Those statements were, and are, false, defamatory to Plaintiff Kraemer’s character and

placed Plaintiff Kraemer in a false light to members of her community.

58.     Plaintiffs have a business relationship with the fundraising website, Cuddly, which

Plaintiffs utilize to raise funds for various expenses.

59.     Following the fire, Plaintiff Kraemer posted a fundraiser for Plaintiff Rescue on Cuddly’s

website.

60.     Following the fire at the Plaintiffs’ property, Defendant Williams’ Facebook page,

“Rescue Watch,” posted a news article about the fire.

61.     At the time of that posting, and thereafter, Plaintiffs believe, and therefore aver, that

Defendant Williams was the only individual to post as the Facebook page “Rescue Watch”.

62.     Defendant Williams, as “Rescue Watch,” Defendant Cole, Defendant Cassidy and other

individuals posted multiple negative comments about the Plaintiffs in the comment section of

that post.

63.     In the comment section of that post, Defendant Williams, as “Rescue Watch,” and/or

other individuals, including, but not limited to, Defendant Cole, shared information about the

Plaintiffs’ page on the fundraising website, Cuddly.

64.     Defendant Williams, as “Rescue Watch,” Defendant Cole, and other individuals made

negative comments on that post about the Plaintiffs’ fundraising page and stated that they were

going to contact Cuddly to complain about the Plaintiffs.



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65.        Plaintiffs believe, and therefore aver, that Defendants Williams and Cole contacted

Cuddly in order to interfere with the Plaintiffs’ business relationship with Cuddly.

66.        Defendant Cassidy also made Facebook comments and/or posts using the Facebook

account “Erin Ireland” that contained false and defamatory statements about Plaintiff Kraemer

including, but not limited to, that Plaintiff Kramer abandoned dogs and that she “left [her dogs]

to die.”

67.        The statements made by Defendant Cassidy, as more fully described hereinbefore above,

were false, defamatory to Plaintiff Kraemer’s character and placed Plaintiff Kraemer in a false

light to members of her community.

68.        Defendant Cole also made multiple public Facebook posts containing several false and

defamatory statements about Plaintiff Kraemer, including, but not limited to, that Plaintiff

Kramer was a hoarder and that Plaintiff Rescue was not a legitimate non-profit organization.

69.        The statements made by Defendant Cole, as more fully described hereinbefore above,

were false, defamatory to Plaintiff Kraemer’s character and placed Plaintiff Kraemer in a false

light to members of her community.

70.        Defendant Barnes also made a separate public Facebook post containing several false and

defamatory statements about Plaintiff Kraemer, including, but not limited to, that Plaintiff

Kraemer was a “hoarder” and that Plaintiff Kraemer that destroyed Defendant Barnes’ rental

property.

71.        The statements made by Defendant Barnes, as more fully described hereinbefore above,

were false, defamatory to Plaintiff Kraemer’s character and placed Plaintiff Kraemer in a false

light to members of her community.




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72.     The statements made by Defendant Barnes imputes criminal liability on Plaintiff

Kraemer.

73.     As a direct and proximate result of the negative, false and/or defamatory statements made

on various Facebook pages by Defendants Williams, Cassidy Barnes and Cole, as more fully

described hereinbefore above, multiple individuals contacted Cuddly to make complaints about

the Plaintiffs. Thereafter, Cuddly removed the Plaintiffs’ fundraiser from its website.

74.     As a direct and proximate result of the negative, false and/or defamatory statements made

on various Facebook pages by Defendants Williams, Cassidy, Barnes and Cole, as more fully

described hereinbefore above, Plaintiffs are no longer permitted by Cuddly to use its fundraising

website.

75.     As a result of the fire on the Plaintiffs property, Plaintiffs property was severely damaged

and required construction.

76.     Defendant Monack initially told Plaintiff Kraemer that Defendant Township did not

require any permits for that construction.

77.     However, sometime thereafter, Defendant Monack informed Plaintiff Kraemer that

Defendant Township required a permit and a structural engineer’s report for the construction.

78.     Plaintiffs believe, and therefore aver, that similarly situated property owners were not

required by Defendant Township to obtain a structural engineer’s report for a permit. No

rational basis exists for this difference in treatment.

79.     Plaintiff Kraemer acquired a report by a structural engineer, per Defendant Township’s

request.

80.     Thereafter, Defendants Township and/or Monack refused to grant the Plaintiffs the

required permits for construction for approximately eight (8) months.



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81.     Plaintiffs believe, and therefore aver, that Defendants Township and/or Monack have not

refused to grant permits to similarly situated properties for eight (8) months. No rational basis

exists for this difference in treatment.

82.     Throughout that time, Defendants Township and/or Monack also informed the Plaintiffs

that they were required to have their septic tank inspected prior to receiving any permits.

83.     Plaintiffs believe, and therefore aver, that Defendants Township and/or Monack do not

require other similarly situated properties to have their septic tank inspected prior to receiving

any permits. No rational basis exists for this difference in treatment.

84.     In or about August of 2022, Defendants Township and/or Monack finally granted the

required building permit to the Plaintiff. However, that permit included conditions which no

other property owners with permits were subjected to, including, but not limited to, inspections

at various stages of construction. No rational basis exists for this difference in treatment.

85.     Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as

commissioner for Defendant Township, set the above-described permit requirements in

retaliation for Plaintiff Kraemer’s complaints about Defendant Beck.

86.     Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as

commissioner for Defendant Township, set the above-described permit requirements in

retaliation for Plaintiff Rescue’s association with Plaintiff Kraemer.

87.     Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as

commissioner for Defendant Township, set the above-described permit requirements because

Plaintiff Rescue works with African-American veterans and, as a result, African-American

individuals visit the Plaintiffs’ property.




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88.    Defendant Township and/or Defendant Beck have also contacted various construction

unions and falsely alleged that the Plaintiffs property was going to be condemned.

89.    As a direct and proximate result of Defendant Township and/or Defendant Beck’s false

statements about condemning the Plaintiffs property and Defendant Township, Defendant Beck

and/or Defendant Monack’s refusal to grant the Plaintiffs permits for approximately eight (8)

months, Plaintiffs have been unable to secure a contract for construction on their property for

approximately eight (8) months.

90.    As a direct and proximate result of the requirements set by Defendant Township,

Defendant Monack and/or Defendant Beck, Plaintiff Rescue has been unable to operate.

                                            COUNT I:

                PLAINTIFF KRAEMER v. DEFENDANTS TOWNSHIP AND BECK

                  VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
                    SPECIFICALLY, §1983 AND THE FIRST AMENDMENT
                         OF THE UNITED STATES CONSTITUTION

                           RETALIATION – PROTECTED SPEECH

91.    Plaintiffs incorporate by reference Paragraphs 1 through 90 as though fully set forth at

length herein.

92.    Plaintiff Kraemer claims damages for the injuries set forth herein under 42 U.S.C. §1983

against the above-captioned Defendants for violation of Plaintiff’s constitutional rights under

color of law.

93.    At all times relevant hereto, Plaintiff Kraemer had the right to be free from retaliation

based on her right to freedom of speech.

94.    As described hereinbefore above, Plaintiff has made multiple complaints about

Defendant Beck.



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95.    As described hereinbefore above, Defendant Beck has taken various actions against the

Plaintiffs, in his capacity as commissioner for Defendant Township, including, but not limited to,

instructing Defendant Township’s garbage collection service not to collect Plaintiffs’ trash and

refusing to provide Plaintiffs with proper permits for approximately eight (8) months.

96.    Plaintiffs believe, and therefore aver, that Defendant Beck has taken those actions, in his

capacity as commissioner for Defendant Township, in retaliation for Plaintiff Kraemer’s

complaints about Defendant Beck.

97.    In his capacity as commissioner for Defendant Township, Defendant Beck acts as a

decision-maker for Defendant Township.

98.    As a direct and proximate result of the acts described hereinbefore above perpetrated by

the Defendants, Plaintiff Kraemer suffered the following injuries and damages:

       a.      Plaintiff’s right under the First Amendment to the United States
               Constitution to be free from retaliation based on her protected
               speech was violated;

       b.      Plaintiff was harmed professionally;

       c.      Plaintiff’s reputation was harmed;

       d.      economic damages; and

       e.      Plaintiff suffered economic damages related to any and all other
               consequential costs.

       WHEREFORE, Plaintiff Kraemer demands compensatory general damages against the

Defendants, and each of them, in the amount proven at trial; compensatory special damages;

costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-judgment interest as

permitted by law; punitive damages against Defendant Beck; and such other relief, including

injunctive and/or declaratory relief, as this Court may deem proper.

                                                             JURY TRIAL DEMANDED

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                                             COUNT II:

                           PLAINTIFFS KRAEMER and RESCUE
                                         v.
                       DEFENDANTS TOWNSHIP, BECK and MONACK

              VIOLATION OF PLAINTIFFS’ CONSTITUTIONAL RIGHTS,
        SPECIFICALLY, 42 U.S.C. §1983 AND THE FOURTEENTH AMENDMENT
                    OF THE UNITED STATES CONSTITUTION

                            EQUAL PROTECTION – CLASS OF ONE

99.    Plaintiffs incorporate by reference Paragraphs 1 through 98 as though fully set forth at

length herein.

100.   As more fully described hereinbefore above, Plaintiffs’ trash was not removed from their

property by Defendant Township’s trash collection service on several occasions.

101.   Plaintiffs believe, and therefore aver, that Defendant Township and/or Defendant Beck

did not instruct Defendant Township’s garbage collection service to not collect similarly situated

property owners and organizations’ trash. No rational basis exists for this difference in

treatment.

102.   As more fully described hereinbefore above, Defendants Township and/or Monack

denied the Plaintiffs a permit for approximately eight (8) months, required the Plaintiffs to obtain

a structural engineer’s report, and told the Plaintiffs that they were required to have their septic

tank inspected.

103.   Plaintiffs believe, and therefore aver, that Defendants Township and/or Monack did not

deny similarly situated property owners permits for eight (8) months, did not require similarly

situated property owners to obtain structural engineer’s reports for permits and did not require

similarly situated business owners to have their septic tanks inspected. No rational basis exists

for this difference in treatment.



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104.   As more fully described hereinbefore above, Plaintiffs finally received a permit from

Defendants Township and/or Monack, however, Defendant placed certain conditions which no

other property owners with permits were subjected to. No rational basis exists for this difference

in treatment.

105.   In his capacity as commissioner for Defendant Township, Defendant Beck acts as

decision-maker for Defendant Township.

106.   As a direct and proximate result of the Defendants’ actions, and each of them, Plaintiffs

suffered the following injuries and damages:

       a.       Plaintiffs’ rights under the Fourteenth Amendment to the United
                States Constitution were violated;

       b.       Plaintiffs were harmed professionally;

       c.       economic damages; and

       d.       Plaintiffs suffered economic damages related to any and all other
                consequential costs.

       WHEREFORE, Plaintiffs demand compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the Defendant Beck; and such

other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED




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                                            COUNT III:

                 PLAINTIFF RESCUE v. DEFENDANTS TOWNSHIP and BECK

              VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
        SPECIFICALLY, 42 U.S.C. §1983 AND THE FOURTEENTH AMENDMENT
                    OF THE UNITED STATES CONSTITUTION

                                 EQUAL PROTECTION – RACE

107.   Plaintiffs incorporate by reference Paragraphs 1 through 106 as though fully set forth at

length herein.

108.   Plaintiff Rescue provides service and therapy animals to veterans, including African-

American veterans, and utilizes the help of volunteers, including African-American volunteers.

Those African-American individuals are members of a protected class.

109.   Plaintiffs believe, and therefore aver, that Defendant Beck, in his capacity as

commissioner for Defendant Township, took various actions against the Plaintiff, as more fully

described hereinbefore above, on the basis of the race of Plaintiff Rescue’s volunteers and

veteran clients.

110.   As more fully described hereinbefore above, Defendant Beck made racially charged

comments about Plaintiff Rescue’s African-American volunteers.

111.   In his capacity as commissioner for Defendant Township, Defendant Beck acts as

decision-maker for Defendant Township.

112.   As a direct and proximate result of the Defendants’ actions, and each of them, Plaintiff

Rescue suffered the following injuries and damages:

       a.        Plaintiff’s right under the Fourteenth Amendment to the United
                 States Constitution was violated;

       b.        Plaintiff was harmed professionally;

       c.        economic damages; and

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       d.        Plaintiff suffered economic damages related to any and all other
                 consequential costs.

       WHEREFORE, Plaintiff Rescue demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                               JURY TRIAL DEMANDED


                                            COUNT IV:

                 PLAINTIFF RESCUE v. DEFENDANTS TOWNSHIP AND BECK

                  VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHTS,
                    SPECIFICALLY, §1983 AND THE FIRST AMENDMENT
                         OF THE UNITED STATES CONSTITUTION

                        RETALIATION – FREEDOM OF ASSOCIATION

113.   Plaintiffs incorporate by reference Paragraphs 1 through 114 as though fully set forth at

length herein.

114.   Plaintiff Rescue claims damages for the injuries set forth herein under 42 U.S.C. §1983

against the Defendants for violations of Plaintiff’s constitutional rights under color of law.

115.   At all times relevant hereto, Plaintiff Rescue had the right to be free from retaliation

based on its association with its owner and CEO, Plaintiff Kraemer.

116.   As described hereinbefore above, Plaintiffs believe, and therefore aver, that Defendant

Beck took various actions against Plaintiff Rescue, in his capacity as commissioner for

Defendant Township, based on Plaintiff Rescue’s association with Plaintiff Kraemer.




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117.   Defendant Beck’s actions deprived Plaintiff Rescue of rights guaranteed to it by the First

Amendment.

118.   In his capacity as commissioner for Defendant Township, Defendant Beck acts as a

decision-maker for Defendant Township.

119.   As a direct and proximate result of the acts described hereinbefore above perpetrated by

the Defendants, and each of them, Plaintiff suffered the following injuries and damages:

       a.      Plaintiff’s right under the First Amendment to the United States
               Constitution to be free from retaliation speech was violated;

       b.      Plaintiff was harmed professionally;

       c.      Plaintiff’s reputation was harmed;

       d.      economic damages; and

       e.      Plaintiff suffered economic damages related to any and all other
               consequential costs.

       WHEREFORE, Plaintiff Rescue demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED




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                                            COUNT V:

                         PLAINTIFF KRAEMER v. DEFENDANT BECK

                                VIOLATION OF PLAINTIFF’S
                           PENNSYLVANIA COMMON LAW RIGHTS

                               DEFAMATION – SLANDER PER SE

120.    Plaintiffs incorporate by reference Paragraphs 1 through 119 as though fully set forth at

length herein.

121.    As more fully described hereinbefore above, Defendant Beck made statements to

members of the community that Plaintiff Kraemer sold drugs and “ran a prostitution ring” at the

Plaintiffs’ property.

122.    Those statements, as more fully described hereinbefore above, were, and are, false,

defamatory to Plaintiff Kraemer’s character and placed Plaintiff Kraemer in a false light to

members of her community.

123.    Those false and defamatory statements by Defendant Beck negatively affected Plaintiff

Kraemer’s reputation and career, placed her in a false light to members of her community and

caused the Plaintiff extreme emotional distress.

124.    As a direct and proximate result of the actions of Defendant Beck, Plaintiff Kraemer was

injured and damaged as follows:

        a.       Plaintiff suffered a violation of her Pennsylvania Common law
                 rights;

        b.       Plaintiff was harmed professionally;

        c.       Plaintiff’s reputation was harmed;

        d.       economic damages; and

        e.       Plaintiff suffered economic damages related to any and all other
                 consequential costs.

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        WHEREFORE, Plaintiff Kraemer demands compensatory general damages against

Defendant Beck, in the amount proven at trial; compensatory special damages; costs of suit;

reasonable attorney’s fees as permitted by law; pre- and post-judgment interest as permitted by

law; punitive damages; and such other relief, including injunctive and/or declaratory relief, as

this Court may deem proper.

                                                              JURY TRIAL DEMANDED

                                            COUNT VI:

                 PLANTIFFS v. DEFENDANTS BECK, NICK LNU and MONACK

                                VIOLATION OF PLAINTIFFS’
                           PENNSYLVANIA COMMON LAW RIGHTS

                                            TRESPASS

125.    Plaintiffs incorporate by reference Paragraphs 1 through 124 as though fully set forth at

length herein.

126.    As more fully described hereinbefore above, Defendants Beck, Nick LNU and Monack

each individually entered the Plaintiffs’ property without the Plaintiffs’ consent and without any

justification to do so.

127.    As a direct and proximate result of the acts described hereinbefore above perpetrated by

the Defendants, and each of them, Plaintiffs suffered the following injuries and damages:

        a.       violation of the Plaintiffs’ rights under Pennsylvania Common Law;

        b.       Plaintiff Kraemer suffered emotional distress;

        c.       economic damages related to any and all medical, legal, and/or other
                 consequential costs; and

        d.       such other damages as may become apparent through the discovery
                 process.




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       WHEREFORE, Plaintiffs demand compensatory general damages against the

Defendants, and each of them, in the amount proven at trial; compensatory special damages

including, but not limited to, costs of suit; reasonable attorney’s fees as permitted by law; pre-

and post-judgment interest as permitted by law; punitive damages against the Defendants, and

each of them; and such other relief, including injunctive and/or declaratory relief, as this Court

may deem proper.

                                                              JURY TRIAL DEMANDED

                                            COUNT VII:

                       PLAINTIFF KRAEMER v. DEFENDANT BARNES

                                VIOLATION OF PLAINTIFF’S
                           PENNSYLVANIA COMMON LAW RIGHTS

                                   DEFAMATION - SLANDER

128.   Plaintiffs incorporate by reference Paragraphs 1 through 127 as though fully set forth at

length herein.

129.   As more fully described hereinbefore above, Defendant Barnes intentionally made false

and defamatory statements about Plaintiff Kraemer to a member of the community.

130.   The false and defamatory statements by Defendant Barnes negatively affected Plaintiff

Kraemer’s reputation and career, placed her in a false light to members of his community and

caused the Plaintiff extreme emotional distress.

131.   As a direct and proximate result of the actions of Defendant Barnes, as set forth above,

Plaintiff Kraemer was injured and damaged as follows:

       a.        Plaintiff suffered a violation of her Pennsylvania Common Law rights;

       b.        Plaintiff was harmed professionally;

       c.        Plaintiff’s reputation was harmed;

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       d.        economic damages; and

       e.        Plaintiff suffered economic damages related to any and all other
                 consequential costs.

       WHEREFORE, Plaintiff Kraemer demands compensatory general damages against the

Defendant Barnes, in the amount proven at trial; compensatory special damages; costs of suit;

reasonable attorney’s fees as permitted by law; pre- and post-judgment interest as permitted by

law; punitive damages against the individual Defendants; and such other relief, including

injunctive and/or declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED

                                           COUNT VIII:

                            PLAINTIFF KRAEMER
                                     v.
            DEFENDANTS FURGOTTEN, PALMER, CASSIDY, BARNES and COLE

                                VIOLATION OF PLAINTIFF’S
                           PENNSYLVANIA COMMON LAW RIGHTS

                                     DEFAMATION - LIBEL

132.   Plaintiffs incorporate by reference Paragraphs 1 through 131 as though fully set forth at

length herein.

133.   As more fully described hereinbefore above, Defendant Palmer, in her capacity as a

humane officer for All But Furgotten, intentionally made false and defamatory statements in her

text messages to various volunteers for Plaintiff Rescue.

134.   As more fully described hereinbefore above, Defendant Palmer was acting in her capacity

as a humane officer for All But Furgotten.




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135.   As more fully described hereinbefore above, Defendant Barnes, Cassidy and Cole created

Facebook comments and posts which included false and defamatory statements about Plaintiff

Kraemer.

136.   The false and defamatory statements and claims by Defendants Palmer, Barnes, Cassidy

and Cole negatively affected Plaintiff Kramer’s reputation and career, placed her in a false light

to members of her community and caused Plaintiff Kramer extreme emotional distress.

137.   As a direct and proximate result of the actions of Defendants Palmer, Barnes, Cassidy

and Cole, as set forth above, Plaintiff Kraemer was injured and damaged as follows:

       a.      Plaintiff suffered a violation of her Pennsylvania Common Law rights;

       b.      Plaintiff was harmed professionally;

       c.      Plaintiff’s reputation was harmed;

       d.      economic damages; and

       e.      Plaintiff suffered economic damages related to any and all other
               consequential costs.

       WHEREFORE, Plaintiff demands compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED




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                                            COUNT IX:

                       PLAINTIFF KRAEMER v. DEFENDANT BARNES

                                VIOLATION OF PLAINTIFF’S
                           PENNSYLVANIA COMMON LAW RIGHTS

                                 DEFAMATION – LIBEL PER SE

138.   Plaintiffs incorporate by reference Paragraphs 1 through 137 as though fully set forth at

length herein.

139.   As more fully described hereinbefore above, Defendant Barnes intentionally made false

and defamatory statements that Plaintiff Kraemer was a “hoarder” and destroyed Defendant

Barnes’ rental property.

140.   Those false and defamatory statements by Defendant Barnes negatively affected Plaintiff

Kraemer’s reputation and career, placed her in a false light to members of her community and

caused Plaintiff Kraemer extreme emotional distress.

141.   The statements made by Defendant Barnes impute criminal liability on Plaintiff Kraemer.

142.   As a direct and proximate result of the actions of the Defendant Barnes, as set forth

above, Plaintiff Kraemer was injured and damaged as follows:

       a.        Plaintiff suffered a violation of her Pennsylvania Common Law rights;

       b.        Plaintiff was harmed professionally;

       c.        Plaintiff’s reputation was harmed;

       d.        economic damages; and

       e.        Plaintiff suffered economic damages related to any and all other
                 consequential costs.

       WHEREFORE, Plaintiff Kraemer demands compensatory general damages against the

Defendant in the amount proven at trial; compensatory special damages; costs of suit; reasonable



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attorney’s fees as permitted by law; pre- and post-judgment interest as permitted by law; punitive

damages against the individual Defendants; and such other relief, including injunctive and/or

declaratory relief, as this Court may deem proper.

                                                              JURY TRIAL DEMANDED

                                             COUNT X:

                         PLAINTIFFS KRAEMER and RESCUE
                                       v.
                  DEFENDANTS WILLIAMS, CASSIDY BARNES and COLE

                             INTENTIONAL INTERFENCE WITH A
                                 BUSINESS RELATIONSHIP

143.   Plaintiffs incorporate by reference Paragraphs 1 through 142 as though fully set forth at

length herein.

144.   Plaintiffs have a business relationship with the fundraising website, Cuddly, which

Plaintiffs utilize to raise funds for various expenses.

145.   Following the fire, Plaintiff Kraemer posted a fundraiser for Plaintiff Rescue on Cuddly’s

website.

146.   Defendants Williams, Barnes and Cole intentionally published false and negative

statements about about the Plaintiffs on Facebook and contacted Cuddly to make complaints

about the Plaintiffs, which has had a significant, negative effect on Plaintiffs’ business

relationships with Cuddly, as more fully described hereinbefore above.

147.   Defendants were aware of the business relationship between Plaintiffs and Cuddly and

Defendant knew or should have known, that its aforementioned conduct would result in an

interference with Plaintiffs’ business relationship with Cuddly.

148.   Interference with Plaintiffs’ business relationship with Cuddly, as aforementioned, was a

foreseeable and certain result of the Defendants’ conduct.

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149.   As a direct and proximate result of the actions of the Defendants, and each of them, as set

forth above, the Plaintiffs were injured and damaged as follows:

       a.      Plaintiffs suffered violations of their Pennsylvania Common Law rights;

       b.      Plaintiffs were harmed professionally;

       c.      Plaintiffs’ reputations were harmed;

       d.      economic damages; and

       e.      Plaintiffs suffered economic damages related to any and all other
               consequential costs.

       WHEREFORE, Plaintiffs demand compensatory general damages against the

Defendants, and each of them, jointly and severally, in the amount proven at trial; compensatory

special damages; costs of suit; reasonable attorney’s fees as permitted by law; pre- and post-

judgment interest as permitted by law; punitive damages against the individual Defendants; and

such other relief, including injunctive and/or declaratory relief, as this Court may deem proper.

                                                             JURY TRIAL DEMANDED




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                                   Respectfully submitted,

                                   LAW OFFICES OF JOEL SANSONE

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Dated: August 22, 2022




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